
Mr. Justice Strong
delivered the opinion of the.court:
The agreement between the plaintiffs and the United States was not a mere contract of affreightment. The vessel, it is true, was let to hire for an indefinite period, not less than thirty days, and the charterers undertook to pay one hundred and fifty dollars for each and everyday she might be employed *29under the contract, and to bear the war risk, the marine risk being borne by the plaintiffs. But, beyond this, the contract looked to a sale of the vessel to the charterers at a stipulated price. Her value was fixed at forty thousand dollars, and it was agreed that should she be retained in the service of the United States until the money paid and due on account of the charter should be equal to such value, (after deducting therefrom the cost of running and keeping her in repair, together with a percentage on her appraised value,) she should become the property of the United States without further payment, except of such sum as might then be due on account of her hire under the charter. Another clause in the agreement stipulated, in effect, that at any time during the continuance of the charter, namely, while the vessel was employed by the charterers, and until she should be returned to the owners at New York, the United States might elect to purchase her, they might take her at her appraised value, (viz., $40,000,) in which case all money paid and due on account of the charter, after making the deductions above mentioned, it was agreed should be applied on account of the purchase. The plain meaning of these stipulations is that transmission of the ownership of the vessel to the United States was contemplated; that the transmission of ownership was to be at the option of the United States; that in no event were the plaintiffs to have more than' forty thousand dollars for her, and that this sum might be paid in full by the per diem hire, in which case the vessel was to become the property of the Government so soon as the hire, less the specified deductions, should equal in amount the price named, or at such earlier time as the United States might elect to take her at that price. The plaintiffs, therefore, were in no contingency entitled to more than the price fixed for the vessel by the contract. Whether received as freight or in direct payment of the stipulated price, all money which was paid them, or became due to them, was consideration for the transmission of title, if the United States chose so to regard it. In effect, therefore, the contract vested an equitable ownership in the defendants, proportioned to the money paid and due under the charter. Had a third party, with knowledge of the agreement, bought the vessel from the plaintiffs, he would.doubtless have acquired only a right to the purchase-money remaining unpaid at the time of his purchase, if the charterers had after-*30wards elected to take the vessel during her retention as purchasers, or had retained her until the freight equaled the price agreed upon.
It is true the United States became insurers against war risks, and the vessel was destroyed by such a risk before the freight earned amounted to the appraised value or price. But as insurers they were only bound to make good the loss the plaintiffs sustained, and as the plaintiffs had agreed to sell for forty thousand dollars, that loss could not have exceeded what remained unpaid of that sum. It cannot be doubted that the United States had also under the contract an insurable interest. Suppose both they and the plaintiffs had insured severally for their interests, as they might have done, with another underwriter, could more than forty .thousand dollars, the value of the vessel, have been recovered on both the policies ? That will not be maintained. Or, suppose the plaintiffs had insured against marine risks, and the vessel had been lost by one of them. By the contract they undertook such risks. If the vessel had been lost on the day before the freight, less the deductions agreed upon, would have amounted to her entire value, could the plaintiffs have recovered the whole forty thousand dollars, and have retained it, together with the thirty-nine thousand eight hundred and fifty dollars paid or due for freight 1 Would not the policy have inured to the benefit of the United States to the extent of the payments made 1 To hold that it would not would be giving to the contract a most unreasonable construction. And if not, how can the plaintiffs now be entitled to the whole value of the vessel, in addition to all they have received for her hire, as if no part of her price had been paid, or as if the United States had no interest ? We think they are not thus ■ entitled. In our opinion the Government had an equitable interest in the vessel at the time she was lost, and as the interest of the plaintiffs amounted to no more than forty thousand dollars, which -sum they have already received, they have no further just claim.
The judgment is affirmed.
